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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                          CRIMINAL NO. 21-177

VERSUS                                                            SECTION "B" (4)

                                                                  VIOLATIONS: 21 USC § 846
SEAN MARTIN                                                                   21 USC § 841(a)(1) and
GENE JACKSON                                                                  841(b)(1)(C)


                                      NOTICE OF RE-ARRAIGNMENT

         Take notice that this criminal case has been set for RE-ARRAIGNMENT on MAY 11, 2023, at

9:00 a.m. before SENIOR U. S. DISTRICT JUDGE IVAN L. R. LEMELLE, 500 Poydras Street,

Courtroom C-501, New Orleans, LA 70130.

         IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING
   PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY OUTSIDE THE
   AFORESAID COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

NOTICE TO DEFENDANTS AND COUNSEL: After the defendant has entered a guilty plea, the U.S. Probation
Office shall complete and provide to the Court a Presentence Investigation and Report (PSI). Any defendant on
bond and his or her attorney shall report to the U.S. Probation Office immediately following the conclusion of the
rearraignment proceeding for an initial interview and to schedule any subsequent interviews. If a defendant on
bond and his or her defense counsel are unable to report to the U.S. Probation Office immediately following the
defendant's change of plea, defense counsel must make alternate arrangements with the U.S. Probation Officer
prior to leaving the courthouse following the rearraignment proceeding.


   DATE: May 5, 2023                                         CAROL L. MICHEL, CLERK
                                                             by: Dena M. White, Deputy Clerk
   TO:
                                                             AUSA David Haller
   SEAN MARTIN
   c/o USM                                                   U.S. Marshal
   Counsel for Martin:
   Ja'Net Lyneice Davis                                      U.S. Probation/Pretrial Services Unit
   jdavis.law@outlook.com
                                                             JUDGE LEMELLE
   Marion Floyd
   floydmar@bellsouth.net
                                                             MAGISTRATE JUDGE
   Gary Bizal
   gary@garybizal.com                                        FOREIGN LANGUAGE
                                                             INTERPRETER: NONE
   GENE JACKSON
   New Orleans, LA
                                                             If you change address, notify
   Counsel for Jackson:                                      Clerk of Court by phone,
   Jerrod Thompson-Hicks, FPD                                (504) 589-7719
   Celia Rhoads, FPD
